








 				











COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 

NO. 2-04-329-CV





WILLIAM G. HINTON	APPELLANT



V.





GARY JOHNSON, ET AL.	APPELLEES





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FROM THE 89TH DISTRICT COURT OF WICHITA COUNTY



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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On October 20, 2004, we notified appellant, in accordance with rule of appellate procedure 42.3(c), that this case was subject to dismissal if he did not pay the $125 filing fee. 
Tex. R. App. P. 
42.3(c). &nbsp;Again on November 10, 2004, we notified appellant that we would dismiss this appeal unless the $125 filing fee was paid. 
Appellant has not paid the $125 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).

Because appellant has failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court's order of July 21, 1998,
(footnote: 2) we dismiss the appeal. &nbsp;
See 
Tex. R. App. P
. 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 5.

PER CURIAM





PANEL D: MCCOY, J.; CAYCE, C.J.; and LIVINGSTON, J.	



DELIVERED: December 16, 2004



FOOTNOTES
1:See 
Tex. R. App. P. 47.4.


2:July 21, 1998 “Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals,” 
971-972 S.W.2d (Tex. Cases) XXXVIII (1998).




